 Case: 1:19-cv-00066-SNLJ Doc. #: 32 Filed: 06/04/20 Page: 1 of 3 PageID #: 732



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

AUTO-OWNERS INSURANCE,                         )
                                               )
       Plaintiff/Counter Defendant,            )       Case No.:       1:19-cv-00066-SNLJ
                                               )
v.                                             )       JURY TRIAL DEMANDED
                                               )
BLAIR LEASING, LLC,                            )
                                               )
       Defendant/ Counter Plaintiff.           )

                   JOINT REVISED PROPOSED SCHEDULING ORDER

       COME NOW the parties, Plaintiff and Counter-Defendant Auto Owners Insurance

Company (“Plaintiff”) and Defendant and Counter-Plaintiff, Blair Leasing, LLC (“Defendant”)

(collectively the “Parties”), and hereby submit the foregoing Joint Motion to Extend Scheduling

Order Deadline (“Motion”) of the current Case Management Order [Please see Doc. 10]. In

support thereof, the parties jointly state the following:

       1.      As a result of the COVID-19 pandemic, the parties seek a continuance from the

current scheduling order and trial setting.

       2.      Parties have already completed written discovery, mediation, some of the necessary

depositions of fact witnesses, and Plaintiff’s experts’ depositions.

       3.      Parties still have to complete depositions of Defendant’s experts, John Kregos and

Brad Olson, Defendant’s representatives, Ellen and Doug Miller, Plaintiff’s corporate

representative(s), and one or more of Plaintiff’s claim handlers.

       4.      Moreover, depositions of various non-parties still remain to be completed.

       5.      In addition, Parties seek a continuance on filing Daubert Motions and Motions for

Summary Judgment.
 Case: 1:19-cv-00066-SNLJ Doc. #: 32 Filed: 06/04/20 Page: 2 of 3 PageID #: 733



       6.      In light of the aforementioned, the Parties submit the following extensions and new

trial date to be considered by the Court.

                              PROPOSED SCHEDULING PLAN

       7.      Defendant shall make their expert witnesses, John Kregos and Brad Olson,

available for deposition, and have depositions completed by August 1, 2020.

       8.      Defendant shall make their representatives, Ellen and Doug Miller, available for

deposition, and have depositions completed by August 1, 2020.

       9.      Plaintiff shall make their corporate representative(s) and claim handler(s) available

for deposition, and have depositions completed by August 1, 2020.

       10.     All remaining discovery shall be completed by September 15, 2020.

       11.     Any motions to dismiss, for summary judgment or motions for judgment on the

pleadings must be filed no later than October 1, 2020. Opposition briefs shall be filed no later than

November 1, 2020 and any reply brief may be filed no later than November 15, 2020.

       12.     All dispositive motions and motions to exclude testimony under Daubert v. Merrell

Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kuhmo Tire Co. Ltd. V. Carmichael, 526 U.S.

137 (1999) shall be filed by October 1, 2020.

       13.     The earliest date by which this case should reasonably be expected to be ready for

trial is January 1, 2021.

       WHEREFORE, premises considered, the parties respectfully request the Court grant this

Motion to Extend Scheduling Order Deadline and trial date as referenced hereinabove.




                                                 2
 Case: 1:19-cv-00066-SNLJ Doc. #: 32 Filed: 06/04/20 Page: 3 of 3 PageID #: 734




Respectfully submitted,

/s/ J. Drew Houghton (with permission)                 /s/ Bradley R. Hansmann
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was served by the
Court’s electronic filing system, this 4th day of June, 2020, on the counsel of record listed below.

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                                              /s/ Bradley R. Hansmann




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